At last term Badger, on behalf of the officers of the court below, and of the witnesses who had attended in that court, obtained a rule upon the defendants in their own right, and also as administrators of Dempsey Taylor, to show cause why execution should not issue against them for costs. And at this term, the rule coming on to be heard:
The COURT said where a cause abates by the death of one of the parties, as there is no judgment for costs, each party (100)  remains liable to pay his own, and execution may issue therefor, at the instance of the officers and others who have rendered their services and are unpaid. Let execution issue against the defendants de bonis propriis for their own proper costs, and de bonis testati for the costs of their intestate.
Rule made absolute.
Approved: Clerk's Office v. Allen, 52 N.C. 156; S. v. Wallin, 89 N.C. 578; Brown v. Rainor, 108 N.C. 203. *Page 73 